  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 1 of 7 PageID #: 32




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSE CARREON
                                       Plaintiff,
                                                                Case No.: 18-CV-1456
                         - against -
                                                                ANSWER AND
O.K. DELI GROCERY D/B/A JAE’S DELI GROCERY                      AFFIRMATIVE DEFENSES
and DOK MAN KIM
                                       Defendants.


       Defendants O.K. DELI GROCERY and DOK MAN KIM (“Defendants”), by their

attorneys, Hang & Associates, PLLC, for its answer to Plaintiff JOSE CARREON’s Complaint,

states as follows:

            DEFENDANTS’ ANSWER TO THE FIRST AMENDED COMPLAINT

       1.      Defendants states that Paragraph 1 of the Complaint contains conclusion of law

               that requires no response.

       2.      Defendants states that Paragraph 2 of the Complaint contains conclusion of law

               that requires no response.

       3.      Defendants states that Paragraph 3 of the Complaint contains conclusion of law

               that requires no response.

       4.      Defendants deny the allegations set forth in Paragraph 4 of the Complaint.

       5.      Defendants admit the allegations set forth in Paragraph 5 of the Complaint.

       6.      Defendants admit the allegations set forth in Paragraph 6 of the Complaint.

       7.      Defendants deny the allegations set forth in Paragraph 7 of the Complaint.

       8.      Defendants deny the allegations set forth in Paragraph 8 of the Complaint.

       9.      Defendants deny the allegations set forth in Paragraph 9 of the Complaint.
  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 2 of 7 PageID #: 33




       10.     Defendants deny the allegations set forth in Paragraph 10 of the Complaint.

       11.     Defendants admit the allegations set forth in Paragraph 11 of the Complaint.

       12.     Defendants admit the allegations set forth in Paragraph 12 of the Complaint.

       13.     Defendants deny the allegations set forth in Paragraph 13 of the Complaint.

       14.     Defendants states that Paragraph 14 of the Complaint contains conclusion of law

               that requires no response.

       15.     Defendants states that Paragraph 15 of the Complaint contains conclusion of law

               that requires no response.

       16.     Defendants states that Paragraph 16 of the Complaint contains conclusion of law

               that requires no response.

       17.     Defendants admit that Plaintiff was paid in cash but lack information and belief to

form a response to the remaining allegations set forth in Paragraph 17 of the Complaint.

       18.     Defendants admit the allegations set forth in Paragraph 18 of the Complaint.

       19.     Defendants admit the allegations set forth in Paragraph 19 of the Complaint.

       20.     Defendants admit the allegations set forth in Paragraph 20 of the Complaint.

       21.     Defendants admit the allegations set forth in Paragraph 21 of the Complaint.

       22.     Defendants admit the allegations set forth in Paragraph 22 of the Complaint.

       23.     Defendants deny the allegations set forth in Paragraph 23 of the Complaint.

       24.     Defendants deny the allegations set forth in Paragraph 24 of the Complaint.

       25.     Defendants deny the allegations set forth in Paragraph 25 of the Complaint.

       26.     Defendants deny the allegations set forth in Paragraph 26 of the Complaint.

       27.     Defendants deny the allegations set forth in Paragraph 27 of the Complaint.

       28.     Defendants deny the allegations set forth in Paragraph 28 of the Complaint.


                                                2
Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 3 of 7 PageID #: 34




   29.   Defendants deny the allegations set forth in Paragraph 29 of the Complaint.

   30.   Defendants deny the allegations set forth in Paragraph 30 of the Complaint.

   31.   Defendants deny the allegations set forth in Paragraph 31 of the Complaint.

   32.   Defendants deny the allegations set forth in Paragraph 32 of the Complaint.

   33.   Defendants deny the allegations set forth in Paragraph 33 of the Complaint.

   34.   Defendants deny the allegations set forth in Paragraph 34 of the Complaint.

   35.   Defendants deny the allegations set forth in Paragraph 35 of the Complaint.

   36.   Defendants repeats and re-alleges all paragraphs above as though fully set forth

         herein.

   37.   Defendants deny the allegations set forth in Paragraph 37 of the Complaint

   38.   Defendants deny the allegations set forth in Paragraph 38 of the Complaint

   39.   Defendants deny the allegations set forth in Paragraph 39 of the Complaint

   40.   Defendants repeats and re-alleges all paragraphs above as though fully set forth

         herein.

   41.   Defendants deny the allegations set forth in Paragraph 41 of the Complaint

   42.   Defendants deny the allegations set forth in Paragraph 42 of the Complaint

   43.   Defendants deny the allegations set forth in Paragraph 43 of the Complaint

   44.   Defendants deny the allegations set forth in Paragraph 44 of the Complaint

   45.   Defendants deny the allegations set forth in Paragraph 45 of the Complaint

   46.   Defendants repeats and re-alleges all paragraphs above as though fully set forth

         herein.

   47.   Defendants deny the allegations set forth in Paragraph 47 of the Complaint.

   48.   Defendants deny the allegations set forth in Paragraph 48 of the Complaint.


                                         3
  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 4 of 7 PageID #: 35




       49.     Defendants deny the allegations set forth in Paragraph 49 of the Complaint.

       50.     Defendants deny the allegations set forth in Paragraph 50 of the Complaint.

       51.     Defendants repeats and re-alleges all paragraphs above as though fully set forth

               herein.

       52.     Defendants deny the allegations set forth in Paragraph 52 of the Complaint.

       53.     Defendants deny the allegations set forth in Paragraph 53 of the Complaint.

       54.     Defendants deny the allegations set forth in Paragraph 54 of the Complaint.

       Defendants admit only that Plaintiff purports to seek judgment against Defendants for the

relief referenced in the “WHEREFORE” Paragraph of the Complaint. Except as admitted

herein, Defendants deny the allegations in this “WHEREFORE” Paragraph of the Complaint.

                          AFFIRMATIVE AND OTHER DEFENSES

                                         FIRST DEFENSE

       The Complaint is barred in whole or in part as some or all of the allegations fail to state a

claim upon which relief can be granted.

                                       SECOND DEFENSE

       Defendants, at all times, paid and provided working conditions to Plaintiff in accordance

with all applicable state, federal, and local laws.

                                        THIRD DEFENSE

       Defendants have acted in good faith and have not violated any rights that may be secured

to Plaintiff under any federal, state, or local laws, rules, regulations and guidelines.

                                       FOURTH DEFENSE

       The Complaint fails to state a claim for punitive damages.




                                                      4
  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 5 of 7 PageID #: 36




                                         FIFTH DEFENSE

       The Complaint fails to state a claim for compensatory damages.

                                         SIXTH DEFENSE

       Plaintiff has failed to mitigate or otherwise act to avoid, lessen or reduce any of the

damages, injury or harm of which they now complain.

                                      SEVENTH DEFENSE

       The Complaint is barred, in whole or in part, because Plaintiff was paid all sums which

may have been due to them under the applicable laws and their corresponding regulations.

                                       EIGHTH DEFENSE

          Plaintiff was barred from recovering based on equitable doctrines, including, without

limitation, laches, unclean hands, waiver, and/or estoppel, and prior administrative proceedings.

                                        NINTH DEFENSE

       Any recovery should be offset by the amounts of tax credits and/or deductions available

to the Plaintiff based on any of the transaction at issue.

                                        TENTH DEFENSE

       The claims for pre-judgment interest under the New York Labor Law are preempted by

the remedies provided by the Fair Labor Standards Act.

                                     ELEVENTH DEFENSE

       The Court shall not employ supplement jurisdiction over Plaintiff’s New York Labor

Law claims when Plaintiffs fail to state a claim under Federal Labor Standards Act.

                                     TWELVETH DEFENSE

       Defendants have annual gross volume of sales less than $500,000 and therefore is not an

enterprise engaged in interstate commerce under the Federal Labor Standards Act.


                                                  5
  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 6 of 7 PageID #: 37




                                 RESERVATION OF RIGHTS

       Defendants reserve the right to raise additional affirmative and other defenses that may

subsequently become or appear applicable to Plaintiff’s claims.

       WHEREFORE, Defendants respectfully request judgment dismissing the Complaint with

prejudice and awarding them costs, reasonable attorneys’ fees, and such other relief as this Court

deems just and proper.

                                    JURY TRIAL DEMAND

       Defendants request a jury trial on all issues so triable in this answer.

Dated: May 22, 2018

                                                                  HANG & ASSOCIATES, PLLC.

                                                                      _ /s/Phillip H. Kim___
                                                                      Phillip H. Kim, Esq.
                                                                      136-20 38th Ave. Suite 10G
                                                                      Flushing, New York 11354
                                                                      Tel: 718-353-8588
                                                                      pkim@hanglaw.com
                                                                      Attorney for Defendants
TO:    Heriberto A. Cabrera, Esq.
       480 39th Street, 2nd Fl.
       Brooklyn, NY 11232
       Tel: 718-439-3600
       Email: herblaw11220@gmail.com
       Attorney for Plaintiff




                                                 6
  Case 1:18-cv-01456-BMC Document 9 Filed 05/22/18 Page 7 of 7 PageID #: 38




                                 CERTIFICATE OF SERVICE

              The undersigned, an attorney duly licensed to practice before this Court, certifies

that by filing the Defendants’ Answer and Affirmative Defenses through this Court’s electronic

filing system, he caused the documents to be served upon the following:

                                     Heriberto A. Cabrera, Esq.
                                        480 39th Street, 2nd Fl.
                                         Brooklyn, NY 11232
                                          Tel: 718-439-3600
                                   Email: herblaw11220@gmail.com
                                         Attorney for Plaintiff


            I certify under penalty of perjury that the foregoing is true and correct.


Dated: May 22, 2018                                  HANG & ASSOCIATES, PLLC


                                                     By: _ /s/Phillip H. Kim___
                                                         Phillip H. Kim, Esq.
                                                         136-20 38th Ave. Suite 10G
                                                         Flushing, New York 11354
                                                         (718) 353-8588
                                                         Attorney for Defendants




                                                7
